Case 6:13-cv-00072-RWS Document 39 Filed 11/07/17 Page 1 of 3 PageID #: 706



                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                         TYLER DIVISION

NETWORK-1 TECHNOLOGIES, INC.                                 §
                                                             §
                    Plaintiff,                               §    CIVIL ACTION NO. 6:13-CV-00072-RWS
                                                             §
v.                                                           §
                                                             §
HEWLETT-PACKARD COMPANY,                                     §
HEWLETT-PACKARD ENTERPRISE                                   §
COMPANY,                                                     §
                                                             §
                    Defendants.


                         ORDER ADOPTING REPORT AND RECOMMENDATION
                             OF UNITED STATES MAGISTRATE JUDGE

           The above-entitled and numbered civil action was referred to United States Magistrate

Judge K. Nicole Mitchell pursuant to 28 U.S.C. § 636. Before the Court are Plaintiff Network-1

Technologies, Inc.’s (“Plaintiff” or “Network-1”) objections to the Report and Recommendation

of the United States Magistrate Judge (Docket No. 1081 in Case No. 6:11-cv-492)1 regarding

Defendants’ Motion for Summary Judgment of Invalidity Under 35 U.S.C. § 305. Having

reviewed the written objections de novo, Plaintiff’s objections are OVERRULED. The

Magistrate Judge’s Report and Recommendation (“Report,” Docket No. 1035) is accordingly

ADOPTED.

           Plaintiff objects to the Report’s finding that “the ‘low level current’ element of claim 6

was impermissibly broadened in claim 21.” Docket No. 1081 at 2. Plaintiff argues that the Court

should have used Network-1’s proposed construction of “low level current” in determining

whether claim 21 is broader than claim 6. Id.


 1
     All references to the docket refer to Case No. 6:11-cv-492 unless otherwise specified.
Case 6:13-cv-00072-RWS Document 39 Filed 11/07/17 Page 2 of 3 PageID #: 707



       The Court previously construed “low level current” of claim 6 to mean “a non-data signal

current that is sufficient to being start up of the access device but that is not sufficient to sustain

the start up.” Doc. No. 693 at 12. With that construction, “the Court imposed both an upper

bound (the current level cannot be sufficient to sustain start up) … and a lower bound (the

current level must be sufficient to begin startup).” Docket No. 1035 at 5. However, Network-1’s

proposed claim construction for “low level current” is “a current at a level that is sufficiently low

that, by itself, it will not operate the access device,” which only requires an upper bound. Docket

No. 596 at 16–19.

       Plaintiff argues that under its proposed claim construction, claim 21 is not improperly

broadened because no lower bound is required and thus the upper bound in claims 6 and 21 cover

the same scope. Docket No. 1081 at 2. However, Plaintiff recognizes that “the Court (both the

Magistrate Judge and District Judge) must apply that construction in addressing this motion,

unless that construction were to be reversed” and seeks to preserve this issue for appeal. Id. The

Court has already reviewed the Magistrate Judge’s claim construction, considered the parties’

arguments in the underlying briefing, and overruled the objections thereto. Docket No. 860.

       As the remainder of the Plaintiff’s brief consists of the arguments that Network-1 made in

addressing the underlying motion, see Docket No. 871, which the Court has already reviewed de

novo, Plaintiff’s objections are overruled for the same reasons set forth in the Report.

       For the reasons set forth above, the Court OVERRULES Plaintiff’s objections regarding

claim broadening of claim 21. The Court therefore ADOPTS the findings and conclusions of the

Magistrate Judge as those of the Court. In light of the foregoing, it is

       ORDERED that Defendants’ Motion for Summary Judgment of Invalidity Under 35

U.S.C. § 305 as to claim 21 of the ‘930 Patent, Docket No. 609, is GRANTED.


                                              Page 2 of 3
Case 6:13-cv-00072-RWS Document 39 Filed 11/07/17 Page 3 of 3 PageID #: 708




      SIGNED this 7th day of November, 2017.



                                                  ____________________________________
                                                  ROBERT W. SCHROEDER III
                                                  UNITED STATES DISTRICT JUDGE




                                    Page 3 of 3
